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James Garretson (00:09):
Hey man.

Speaker 2 (00:11):
Yeah.

James Garretson (00:12):
All right. I was just giving you a holler back. Follow through with that Lopez, man. The thing is, you seem
to get a little frustrated. But here's the deal. With credit, you don't get frustrated. You just fucking keep
moving forward because things change all the time, man. Like with Chase, it stopped for a while and
then I did an app about two months later, boom started working again. They got to owe so much money
too, with the lending and stuff. So it's on and off.

Speaker 2 (00:49):
I think I probably just need some more files because I didn't know what you said before. You just
mentioned two files before and it's made up like two emails addresses and they both said we sent docs,
so we just need you to verify them. I was like, I guess most of your files, Chase goes through pretty much
all the time. I just didn't follow up on them.

James Garretson (01:16):
Because when I build files, I build them just for Chase because I never did credit unions. I never did cash
loans. My whole deal was Chase. My partner did Bank of America, so his file is a little different than
mine. I built what I needed to do just to boom, boom, boom, boom, boom. I've got some real good files
that I built a few months ago, eight or 10 liners that I'm letting season for a few months.

Speaker 2 (01:48):
The ones you gave me, I think they were just like two or three liners. They all got approved from Chase.
If you want, if you got some [inaudible 00:02:00], I can come up with a different address and a different
email or whatever and apply for all of them through Chase.

James Garretson (02:09):
What I did a lot of times is I used the address on the file and then right after they issued the card, then I
called and made up an excuse. Like I got a divorce, and then you go through the security questions and
then you can get it overnighted to a different address. When it does that though, it sends it to fraud a
lot. But a new address is the best way to do it. These Chases are real sensitive. If you call, try to reship it,
90% of the time, it's just going to go to fraud and then sometimes it works. It's just, shit's all over the
place.

James Garretson (02:48):
I got some files that have like one dirty on them too. I'm going to try them too. Sometimes those work
too.

Speaker 2 (02:58):




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There's always somebody that approve anyone, like Capital One, you hate them. They're good with files
with dirties on them.

James Garretson (03:08):
I hate fucking Capital One. I hate them three and $500 fucking cards. I used to mail them back to them. I
used to swipe them, put them back, and mail them back to them. Yeah, I fucking hate them son of a
bitches.

Speaker 2 (03:26):
They pull all three bureaus for everything.

James Garretson (03:29):
Yeah. Now they are because they know because me and my guy, we got a thousand fucking plus Cap
One $500 cards. Yeah. That's how we built all our files. So they couldn't figure out how we were doing it.
And they were just approving everything. All, no lines, 500 bucks, no lines. 500 bucks.

Speaker 2 (03:50):
Yeah.

James Garretson (03:53):
And they're stupid. They do it to themselves. All these banks do it to them fucking selves. I hate banks.

Speaker 2 (03:59):
Yeah, exactly. That's why I hate banks.

James Garretson (04:02):
Fucking hate them.

Speaker 2 (04:03):
I thought a little credit union just because like, they're easy to get approved, but now they want docs,
cause they want you to have, when you get a credit card, they want you to have like an account with
them and all this other shit.

James Garretson (04:13):
Yeah. Don't rob people, rob banks. They rob you. Yeah, those motherfuckers. They're ruthless. That's
why you get a payment behind on your car, the bank sends the fucking repo man after, they're fucking
ruthless.

Speaker 2 (04:28):
Exactly. And plus any money they supposedly lose, they write it off at the end of the year, on their taxes,
but they still want you to pay for the same amount.

James Garretson (04:38):



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Yeah, and Bank of America, they gave out so much fucking bad money. It's why it's so hard to get a card
from them. They gave out so much bad fucking money, the government had to bail them out from going
bankrupt. The government gave them like fucking 400, $500 billion. Yeah. And that's our fucking
taxpayers' money, motherfuckers.

Speaker 2 (05:02):
Yeah. City Bank. Who else?

James Garretson (05:05):
Yeah. Fuck them banks.

Speaker 2 (05:07):
Wells Fargo, too. Wells Fargo, too. That's what I'm saying, dude. Basically just no matter what you get
from them they get it back from somebody else. But [crosstalk 00:05:19].

James Garretson (05:19):
They're sorry motherfuckers, dude.

Speaker 2 (05:23):
Yeah.

James Garretson (05:24):
All right. Well, I'll send you a couple files when I get in, I'll be in in about an hour. I'll send you a couple
files to play around.

Speaker 2 (05:29):
All right man.

James Garretson (05:30):
All right, later.




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